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EXHIBIT A
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NO. 23-90013-B

UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT

Gawain Baxter, et al.,
Plaintifjs—Petitioners,

V.

David Miscavige, et al.,
Defendants—Respondents.

On Petition for Review from the United States District Court
for the Middle District of Florida
Tampa Division
Case No. 8:22-cv-986-TPB-JSS

NOTICE OF NON-PARTICIPATION OF DAVID MISCAVIGE

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Plaintiffs-Appellants, through undersigned counsel, file this notice to advise
the Clerk of the non-participation of David Miscavige in this proceeding, as set forth
below:

1. This matter is before the Court on Plaintiffs’ Petition for Interlocutory Appeal
under 28 U.S.C. § 1292(b).

2. On July 21, 2023, the Clerk entered a Notice of Certificate of Interested
Persons (CIP) Deficiency to counsel for David Miscavige for failing “to complete
the Web-Based CIP on the Court’s website [or filing] the standalone CIP.” (Docket
Entry 37). Counsel for Mr. Miscavige have not filed notices of appearance in this
petition.

3. Counsel for Plaintiffs-Appellants, Manuel Juan Dominguez, has conferred
with William Schifino, counsel for David Miscavige, by e-mail and telephone
regarding the Deficiency Notice and has been advised Mr. Miscavige objects to the
filing of this Notice because Mr. Miscavige is not a party before the Court, the
Deficiency Notice was issued by the clerk in error, and the Clerk has indicated to
Mr. Miscavige’s counsel that no filing is necessary to correct this error.
Nevertheless, Plaintiffs-Appellants deem it prudent to file this Notice in an effort to
make it clear on the docket that Mr. Miscavige will not be participating in this
proceeding and will not, therefore, be filing a Certificate of Interested Persons in

response to the Deficiency Notice.
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4. The only parties participating in this proceeding, therefore, are Plaintiffs-
Appellants Gawain Baxter, Laura Baxter, and Valeska Paris, and Defendants-
Respondents Church of Scientology International, Inc.; Religious Technology
Center, Inc.; Church of Scientology Flag Service Organization, Inc.; Church of
Scientology Flag Ship Service Organization, Inc.; and IAS Administrations, Inc., all
of whom have had counsel appear on their behalf and have filed their standalone and

web-based Certificates of Interested Persons.

Dated: August 11, 2023 Respectfully submitted,

/s/ Manuel Juan Dominguez
Manuel Juan Dominguez

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Theodore J. Leopold

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Diana L. Martin

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CERTIFICATE OF SERVICE
I hereby certify that on August 11, 2023, I electronically filed the foregoing
with the Clerk of the Court for the United States Court of Appeals for the Eleventh
Circuit by using the CM/ECF system and that the foregoing document is being
served this day on all counsel of record via transmission of the Notice of Electronic
Filing generated by CM/ECF.

By: /s/ Manuel Juan Dominguez
Manuel Juan Dominguez

